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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Craig Colvin
                                  Plaintiff,
v.                                                     Case No.: 1:19−cv−01099
                                                       Honorable Gary Feinerman
City Of Chicago, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 19, 2019:


       MINUTE entry before the Honorable Gary Feinerman: Status hearing set for
3/14/2019 at 9:00 a.m.Mailed notice.(jlj, )




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